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UNITED STATES DISTRICT COURT                                                  ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                 DOC #: _________________
 ----------------------------------------------------------------------- X    DATE FILED: 11/4/20
                                                                         :
 ROSEMARY MAZZOLA,                                                       :
                                                                         :
                                                 Plaintiff,              :    1:20-cv-07582-GHW
                                                                         :
                              -against-                                  :        ORDER
                                                                         :
 TRANSPORTATION AND LOGISTIC SYSTEMS, :
 INC. and DOUGLAS CERNY,                                                 :
                                                                         :
                                                 Defendants.             :
                                                                         :
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GREGORY H. WOODS, District Judge:

         On November 4, 2020, the Court held a conference regarding the parties’ November 3,

2020 letters concerning Plaintiff’s anticipated amended complaint. Dkt. Nos. 27, 28. As stated on

the record, Plaintiff is granted leave to file an amended complaint. The deadline for Plaintiff to file

her amended complaint is November 23, 2020. The deadline for Defendants to file a pre-motion

letter in connection with any motion to dismiss is December 7, 2020.

         The initial pretrial conference scheduled for November 23, 2020 is adjourned to December

18, 2020 at 4:00 p.m. The joint status letter and proposed case management plan described in the

Court’s September 21, 2020 order, Dkt. No. 11, are due no later than December 11, 2020.

         The Clerk of Court is directed to terminate the motions pending at Dkt. Nos. 27 and 28.

         SO ORDERED.

 Dated: November 4, 2020                                      _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
